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EXHIBIT B
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UNITED STATES DISTRICT Capet ONS UNIT
for the BAY -} Pp 2
Southern District of New York a mine OAS
DENISE DIAZ SOR de tet
)
- Plaintiff - ;
¥. }  Givil Action No. 13CV8281
CITY OF NEW YORK, et al }
: Defendant }

SUMMONS IN A CIVIL ACTION

To: (Deferdant’s namé and address)
NEW YORK COUNTY DISTRICT ATTORNEY'S OFFICE.
NYC District Attomey’s Office

80 Centre Street

New York, §LY. 10013

A lawsuit has been filed against you.

Within 21 days after service of this summons on you {not counting the day you received it} — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve. on the plaintiff an answer to the:attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff's attorney,
whose name and address are:

Law Office of Ricarde Aquire
644 Soundview Avenue, Suite 6
Bronx, New York 10473

If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.

 

 

CLERK OF COURT
4/16/2014 /s/ L: Aquino. ~
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